

Matter of Whyte v Annucci (2017 NY Slip Op 08587)





Matter of Whyte v Annucci


2017 NY Slip Op 08587


Decided on December 7, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 7, 2017

524842

[*1]In the Matter of KEVIN WHYTE, Petitioner,
vANTHONY J. ANNUCCI, as Acting Commissioner of Corrections and Community Supervision, Respondent.

Calendar Date: October 24, 2017

Before: Peters, P.J., Egan Jr., Rose, Mulvey and Rumsey, JJ.


Kevin Whyte, Napanoch, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Julie M. Sheridan of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Greene County) to review a determination of respondent finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
Peters, P.J., Egan Jr., Rose, Mulvey and Rumsey, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








